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                       EXHIBIT A
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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     WEST PALM BEACH DIVISION
                                      CASE No. 9:16-cv-81871-KAM

     LAN LI, an individual; et al.,

               Plaintiffs,

     v.

     JOSEPH WALSH, an individual; et al.,

           Defendants.
     ____________________________________________/

                                  PLAINTIFFS’ INITIAL DISCLOSURES

               Plaintiffs, Lan Li, et al., pursuant to Rule 26(a) of the Federal Rules of Civil Procedure,

     through their undersigned counsel, hereby serve their initial disclosures and state:

   I.      Individuals Likely to Have Discoverable Information – FRCP 26(a)(1)(A)(i)

               1.      Lan Li, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

     Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Lan Li has information

     regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

     well as the information relied upon when investing in the Palm House Hotel project. Lan Li also

     has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective acts

        and omissions, as well as the nature and amount of the damages sustained. Lan Li also has

        knowledge of the personal circumstances created by the fraud, including both economic damages

        and the suffering that has been endured because of the fraud.

               2.      Hao Lou, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

        Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Hao Lou has information

        regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

        well as the information relied upon when investing in the Palm House Hotel project. Hao Lou
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    also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

    acts and omissions, as well as the nature and amount of the damages sustained. Hao Lou also

    has knowledge of the personal circumstances created by the fraud, including both economic

    damages and the suffering that has been endured because of the fraud.

             3.   Shaoqing Zeng, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

    Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Shaoqing Zeng has

    information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Shaoqing Zeng also has knowledge of the denial of investors’ I-526 petitions because of

    defendants’ collective acts and omissions, as well as the nature and amount of the damages

    sustained. Shaoqing Zeng also has knowledge of the personal circumstances created by the

    fraud, including both economic damages and the suffering that has been endured because of the

    fraud.

             4.   Li Chao Hui, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

    Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Li Chao Hui has

    information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Li Chao Hui also has knowledge of the denial of investors’ I-526 petitions because of

    defendants’ collective acts and omissions, as well as the nature and amount of the damages

    sustained. Li Chao Hui also has knowledge of the personal circumstances created by the fraud,

    including both economic damages and the suffering that has been endured because of the fraud.

             5.   Yingjun Yang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

    Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Yingjun Yang has




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    information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Yingjun Yang also has knowledge of the denial of investors’ I-526 petitions because of

    defendants’ collective acts and omissions, as well as the nature and amount of the damages

    sustained. Yingjun Yang also has knowledge of the personal circumstances created by the fraud,

    including both economic damages and the suffering that has been endured because of the fraud.

           6.      Mohammad Zargar, c/o David George, Gunster, Yoakley & Stewart, P.A., 777

    S. Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Mohammad

    Zargar has information regarding some of the many misrepresentations made by and/or on behalf

    of the defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Mohammad Zargar also has knowledge of the denial of investors’ I-526 petitions

    because of defendants’ collective acts and omissions, as well as the nature and amount of the

    damages sustained.      Mohammad Zargar also has knowledge of the personal circumstances

    created by the fraud, including both economic damages and the suffering that has been endured

    because of the fraud.

           7.      Shahriar Ebrahimian, c/o David George, Gunster, Yoakley & Stewart, P.A.,

    777 S. Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Shahriar

    Ebrahimian has information regarding some of the many misrepresentations made by and/or on

    behalf of the defendants, as well as the information relied upon when investing in the Palm

    House Hotel project. Shahriar Ebrahimian also has knowledge of the denial of investors’ I-526

    petitions because of defendants’ collective acts and omissions, as well as the nature and amount

    of the damages sustained.       Shahriar Ebrahimian also has knowledge of the personal




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    circumstances created by the fraud, including both economic damages and the suffering that has

    been endured because of the fraud.

           8.     Sara Salehin, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

    Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Sara Salehin has

    information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Sara Salehin also has knowledge of the denial of investors’ I-526 petitions because of

    defendants’ collective acts and omissions, as well as the nature and amount of the damages

    sustained. Sara Salehin also has knowledge of the personal circumstances created by the fraud,

    including both economic damages and the suffering that has been endured because of the fraud.

           9.     Ying Tan, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

    Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Ying Tan has information

    regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

    well as the information relied upon when investing in the Palm House Hotel project. Ying Tan

    also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

    acts and omissions, as well as the nature and amount of the damages sustained. Ying Tan also

    has knowledge of the personal circumstances created by the fraud, including both economic

    damages and the suffering that has been endured because of the fraud.

           10.    Tao Xiong, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

    Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Tao Xiong has information

    regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

    well as the information relied upon when investing in the Palm House Hotel project. Tao Xiong

    also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective




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    acts and omissions, as well as the nature and amount of the damages sustained. Tao Xiong also

    has knowledge of the personal circumstances created by the fraud, including both economic

    damages and the suffering that has been endured because of the fraud.

           11.    Junqiang Feng, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

    Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Junqiang Feng has

    information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Junqiang Feng also has knowledge of the denial of investors’ I-526 petitions because of

    defendants’ collective acts and omissions, as well as the nature and amount of the damages

    sustained. Junqiang Feng also has knowledge of the personal circumstances created by the fraud,

    including both economic damages and the suffering that has been endured because of the fraud.

           12.    Ran Chen, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

    Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Ran Chen has information

    regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

    well as the information relied upon when investing in the Palm House Hotel project. Ran Chen

    also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

    acts and omissions, as well as the nature and amount of the damages sustained. Ran Chen also

    has knowledge of the personal circumstances created by the fraud, including both economic

    damages and the suffering that has been endured because of the fraud.

           13.    Xiang Shu, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

    Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Xiang Shu has information

    regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

    well as the information relied upon when investing in the Palm House Hotel project. Xiang Shu




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    also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

    acts and omissions, as well as the nature and amount of the damages sustained. Xiang Shu also

    has knowledge of the personal circumstances created by the fraud, including both economic

    damages and the suffering that has been endured because of the fraud.

             14.   Xiang Chunhua, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

    Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Xiang Chunhua

    has information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Xiang Chunhua also has knowledge of the denial of investors’ I-526 petitions because

    of defendants’ collective acts and omissions, as well as the nature and amount of the damages

    sustained. Xiang Chunhua also has knowledge of the personal circumstances created by the

    fraud, including both economic damages and the suffering that has been endured because of the

    fraud.

             15.   Kuang Yaoping, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

    Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Kuang Yaoping

    has information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Kuang Yaoping also has knowledge of the denial of investors’ I-526 petitions because

    of defendants’ collective acts and omissions, as well as the nature and amount of the damages

    sustained. Kuang Yaoping also has knowledge of the personal circumstances created by the

    fraud, including both economic damages and the suffering that has been endured because of the

    fraud.




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           16.     Bei Zhu, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

    Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Bei Zhu has information

    regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

    well as the information relied upon when investing in the Palm House Hotel project. Bei Zhu

    also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

    acts and omissions, as well as the nature and amount of the damages sustained. Bei Zhu also has

    knowledge of the personal circumstances created by the fraud, including both economic damages

    and the suffering that has been endured because of the fraud.

           17.     Qiong Deng, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

    Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980.             Qiong Deng has

    information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Qiong Deng also has knowledge of the denial of investors’ I-526 petitions because of

    defendants’ collective acts and omissions, as well as the nature and amount of the damages

    sustained. Qiong Deng also has knowledge of the personal circumstances created by the fraud,

    including both economic damages and the suffering that has been endured because of the fraud.

           18.     Qiongfang Zhu, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

    Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Qiongfang Zhu has

    information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Qiongfang Zhu also has knowledge of the denial of investors’ I-526 petitions because of

    defendants’ collective acts and omissions, as well as the nature and amount of the damages

    sustained. Qiongfang Zhu also has knowledge of the personal circumstances created by the




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    fraud, including both economic damages and the suffering that has been endured because of the

    fraud.

             19.   Zhiling Gan, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

    Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Zhiling Gan has

    information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Zhiling Gan also has knowledge of the denial of investors’ I-526 petitions because of

    defendants’ collective acts and omissions, as well as the nature and amount of the damages

    sustained. Zhiling Gan also has knowledge of the personal circumstances created by the fraud,

    including both economic damages and the suffering that has been endured because of the fraud.

             20.   Cuilian Li, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

    Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Cuilian Li has information

    regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

    well as the information relied upon when investing in the Palm House Hotel project. Cuilian Li

    also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

    acts and omissions, as well as the nature and amount of the damages sustained. Cuilian Li also

    has knowledge of the personal circumstances created by the fraud, including both economic

    damages and the suffering that has been endured because of the fraud.

             21.   Yulong Tang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

    Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Yulong Tang has

    information regarding some of the many misrepresentations made by and/or on behalf of the

    defendants, as well as the information relied upon when investing in the Palm House Hotel

    project. Yulong Tang also has knowledge of the denial of investors’ I-526 petitions because of




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   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Yulong Tang also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

            22.   Lili Zhang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Lili Zhang has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Lili Zhang

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Lili Zhang also

   has knowledge of the personal circumstances created by the fraud, including both economic

   damages and the suffering that has been endured because of the fraud.

            23.   Shuangyun Wang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Shuangyun Wang

   has information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Shuangyun Wang also has knowledge of the denial of investors’ I-526 petitions because

   of defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Shuangyun Wang also has knowledge of the personal circumstances created by the

   fraud, including both economic damages and the suffering that has been endured because of the

   fraud.

            24.   Wenhao Zhang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Wenhao Zhang has

   information regarding some of the many misrepresentations made by and/or on behalf of the




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   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Wenhao Zhang also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Wenhao Zhang also has knowledge of the personal circumstances created by the

   fraud, including both economic damages and the suffering that has been endured because of the

   fraud.

            25.   Sha Shi, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Sha Shi has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Sha Shi

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Sha Shi also has

   knowledge of the personal circumstances created by the fraud, including both economic damages

   and the suffering that has been endured because of the fraud.

            26.   Liyan Feng, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980.              Liyan Feng has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Liyan Feng also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Liyan Feng also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.




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          27.     Min Cui, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Min Cui has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Min Cui

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Min Cui also has

   knowledge of the personal circumstances created by the fraud, including both economic damages

   and the suffering that has been endured because of the fraud.

          28.     Ruji Li, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Ruji Li has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Ruji Li also

   has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective acts

   and omissions, as well as the nature and amount of the damages sustained. Ruji Li also has

   knowledge of the personal circumstances created by the fraud, including both economic damages

   and the suffering that has been endured because of the fraud.

          29.     Qingyun Yu, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Qingyun Yu has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Qingyun Yu also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages




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   sustained. Qingyun Yu also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          30.     Ling Li, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Ling Li has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Ling Li

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Ling Li also has

   knowledge of the personal circumstances created by the fraud, including both economic damages

   and the suffering that has been endured because of the fraud.

          31.     Baoping Liu, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Baoping Liu has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants that were relayed to the Chinese victims, as well as the information relied upon when

   investing in the Palm House Hotel project. Baoping Liu also has knowledge of the denial of

   investors’ I-526 petitions because of defendants’ collective acts and omissions, as well as the

   nature and amount of the damages sustained. Baoping Liu also has knowledge of the personal

   circumstances created by the fraud, including both economic damages and the suffering that has

   been endured because of the fraud.

          32.     Daqin Weng, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Daqin Weng has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel




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   project. Daqin Weng also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Daqin Weng also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

            33.   Xiaoping Zhang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Xiaoping Zhang

   has information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Xiaoping Zhang also has knowledge of the denial of investors’ I-526 petitions because

   of defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Xiaoping Zhang also has knowledge of the personal circumstances created by the

   fraud, including both economic damages and the suffering that has been endured because of the

   fraud.

            34.   Shaoping Huang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Shaoping Huang

   has information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Shaoping Huang also has knowledge of the denial of investors’ I-526 petitions because

   of defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Shaoping Huang also has knowledge of the personal circumstances created by the

   fraud, including both economic damages and the suffering that has been endured because of the

   fraud.




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          35.     Yi Zhao, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Yi Zhao has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Yi Zhao

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Yi Zhao also has

   knowledge of the personal circumstances created by the fraud, including both economic damages

   and the suffering that has been endured because of the fraud.

          36.     Changyue Liu, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Changyue Liu has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Changyue Liu also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Changyue Liu also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          37.     Yajun Kang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Yajun Kang has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Yajun Kang also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages




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   sustained. Yajun Kang also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          38.    Chengyu Gu, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Chengyu Gu has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Chengyu Gu also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Chengyu Gu also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          39.    Yan Chen, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Yan Chen has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Yan Chen

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Yan Chenalso

   has knowledge of the personal circumstances created by the fraud, including both economic

   damages and the suffering that has been endured because of the fraud.

          40.    Dongsheng Zhu, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Dongsheng Zhu

   has information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Dongsheng Zhu also has knowledge of the denial of investors’ I-526 petitions because




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   of defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Dongsheng Zhu also has knowledge of the personal circumstances created by the

   fraud, including both economic damages and the suffering that has been endured because of the

   fraud.

            41.   Rujing Wei, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980.             Rujing Wei has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Rujing Wei also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Rujing Wei also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

            42.   Juewei Zhou, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Juewei Zhou has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Juewei Zhou also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Juewei Zhou also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

            43.   Min Li, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Min Li has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as




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   well as the information relied upon when investing in the Palm House Hotel project. Min Li also

   has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective acts

   and omissions, as well as the nature and amount of the damages sustained. Min Li also has

   knowledge of the personal circumstances created by the fraud, including both economic damages

   and the suffering that has been endured because of the fraud.

          44.     Chunning Ye, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Chunning Ye has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Chunning Ye also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Chunning Ye also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          45.     Hongru Pan, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Hongru Pan has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Hongru Pan also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Hongru Pan also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          46.     Feng Guo, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Feng Guo has information




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   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Feng Guo

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Feng Guo also

   has knowledge of the personal circumstances created by the fraud, including both economic

   damages and the suffering that has been endured because of the fraud.

          47.    Zheng Yu, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Zheng Yu has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Zheng Yu

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Zheng Yu also

   has knowledge of the personal circumstances created by the fraud, including both economic

   damages and the suffering that has been endured because of the fraud.

          48.    Tingting Sun, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Tingting Sun has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Tingting Sun also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Tingting Sun also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.




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          49.    Xiao Sun, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Xiao Sun has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Xiao Sun

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Xiao Sun also

   has knowledge of the personal circumstances created by the fraud, including both economic

   damages and the suffering that has been endured because of the fraud.

          50.    Yawen Li, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Yawen Li has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Yawen Li

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Yawen Li also

   has knowledge of the personal circumstances created by the fraud, including both economic

   damages and the suffering that has been endured because of the fraud.

          51.    Tonghui Luan, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Tonghui Luan has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Tonghui Luan also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages




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   sustained. Tonghui Luan also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          52.    Li Zhang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Li Zhang has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Li Zhang

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Li Zhang also

   has knowledge of the personal circumstances created by the fraud, including both economic

   damages and the suffering that has been endured because of the fraud.

          53.    Yuanbo Wang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Yuanbo Wang has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Yuanbo Wang also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Yuanbo Wang also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          54.    Shu Jiang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Shu Jiang has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Shu Jiang

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective




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   acts and omissions, as well as the nature and amount of the damages sustained. Shu Jiang also

   has knowledge of the personal circumstances created by the fraud, including both economic

   damages and the suffering that has been endured because of the fraud.

          55.    Ying Fei, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S. Flagler

   Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Ying Fei has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants, as

   well as the information relied upon when investing in the Palm House Hotel project. Ying Fei

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Ying Fei also

   has knowledge of the personal circumstances created by the fraud, including both economic

   damages and the suffering that has been endured because of the fraud.

          56.    Li Dongsheng, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Li Dongsheng has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Li Dongsheng also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Li Dongsheng also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          57.    Tang Cheok Fai, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Tang Cheok Fai

   has information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel




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   project. Tang Cheok Fai also has knowledge of the denial of investors’ I-526 petitions because

   of defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Tang Cheok Fai also has knowledge of the personal circumstances created by the

   fraud, including both economic damages and the suffering that has been endured because of the

   fraud.

            58.   Xiaonan Wang, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Xiaonan Wang has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Xiaonan Wang also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Xiaonan Wang also has knowledge of the personal circumstances created by the

   fraud, including both economic damages and the suffering that has been endured because of the

   fraud.

            59.   Reza Siamak Nia, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Reza Siamak Nia

   has information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Reza Siamak Nia also has knowledge of the denial of investors’ I-526 petitions because

   of defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Reza Siamak Nia also has knowledge of the personal circumstances created by the

   fraud, including both economic damages and the suffering that has been endured because of the

   fraud.




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            60.   Sanaz Salehin, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Sanaz Salehin has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Sanaz Salehin also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Sanaz Salehin also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

            61.   Ali Adampeyra, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Ali Adampeyra has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Ali Adampeyra also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Ali Adampeyra also has knowledge of the personal circumstances created by the

   fraud, including both economic damages and the suffering that has been endured because of the

   fraud.

            62.   Mohammadreza Sedaghat, c/o David George, Gunster, Yoakley & Stewart,

   P.A., 777 S. Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980.

   Mohammadreza Sedaghat has information regarding some of the many misrepresentations made

   by and/or on behalf of the defendants, as well as the information relied upon when investing in

   the Palm House Hotel project. Mohammadreza Sedaghat also has knowledge of the denial of

   investors’ I-526 petitions because of defendants’ collective acts and omissions, as well as the




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   nature and amount of the damages sustained. Mohammadreza Sedaghat also has knowledge of

   the personal circumstances created by the fraud, including both economic damages and the

   suffering that has been endured because of the fraud.

          63.     Halil Erseven, c/o David George, Gunster, Yoakley & Stewart, P.A., 777 S.

   Flagler Drive, Suite 500 East, West Palm Beach, FL 33401, (561) 655-1980. Halil Erseven has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants, as well as the information relied upon when investing in the Palm House Hotel

   project. Halil Erseven also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Halil Erseven also has knowledge of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          64.     Yang Xiangjun, Room 503, Tower 2, Phase 1, No. 128 Zhongkang Road, Futian

   District, Shenzhen, Guangdong. Yang Xiangjun has information regarding some of the many

   misrepresentations made by and/or on behalf of the defendants to him by certain of the

   defendants, orally and/or in writing, with the intention that they be repeated, as the truth, to the

   Chinese victims. Yang Xiangjun also has knowledge of the denial of investors’ I-526 petitions

   because of defendants’ collective acts and omissions, as well as the nature and amount of the

   damages sustained. Yang Xiangjun also has knowledge of some of the personal circumstances

   created by the fraud, including both economic damages and the suffering that has been endured

   because of the fraud.

          65.     Reza Salehin, 11 Ghorban Sneeidi Ave #3, Tehran, Iran 19649. Reza Salehin has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants that were relayed to the Iranian victims. Reza Salehin also has knowledge of the




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   denial of investors’ I-526 petitions because of defendants’ collective acts and omissions, as well

   as the nature and amount of the damages sustained. Reza Salehin also has knowledge of the

   personal circumstances created by the fraud, including both economic damages and the suffering

   that has been endured because of the fraud.

            66.   Xian Ma, Room 1206, Building C, Xiexin Center, No. 68 Yanghe 1st Road,

   Jiangbei District, Chongqing.      Xian Ma has information regarding some of the many

   misrepresentations made by and/or on behalf of the defendants to her by certain of the

   defendants, orally and/or in writing, with the intention that they be repeated, as the truth, to the

   Chinese victims. Xian Ma also has knowledge of the denial of investors’ I-526 petitions because

   of defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Xian Ma also has knowledge of some of the personal circumstances created by the

   fraud, including both economic damages and the suffering that has been endured because of the

   fraud.

            67.   Paymun Zargar, 236 Charles Pl, Wilmette, IL 60091.             Paymun Zargar has

   knowledge of the denial of the Iranian investors’ I-526 petitions because of defendants’

   collective acts and omissions, as well as the nature and amount of damages sustained. Mr.

   Zargar also has information regarding some of the many misrepresentations made by and/or on

   behalf of the defendants that were relayed to the Iranian victims. In addition, Mr. Zargar also

   has information regarding Ali Herischi and Herischi & Associates’ failure to disclose to the

   Iranian victims that they were getting kickbacks from some of the defendants in return for

   delivering the Iranian victims as investors, their admission of the existence of the kickbacks after

   the fraud was exposed and their acknowledgement of the existence of the fraud.




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          68.     Iman Salehin, 11 Ghorban Sneeidi Ave #3, Tehran, Iran 19649. Iman Salehin

   has information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants that were relayed to the Iranian victims. Iman Salehin also has knowledge of the

   denial of investors’ I-526 petitions because of defendants’ collective acts and omissions, as well

   as the nature and amount of the damages sustained. Iman Salehin also has knowledge of the

   personal circumstances created by the fraud, including both economic damages and the suffering

   that has been endured because of the fraud

          69.     Fei Qi, 15F China World Tower III No.1 Jianguomenwai Ave, Chaoyang District

   100004, Beijing, P.R.China.        Fei Qi has information regarding some of the many

   misrepresentations made by and/or on behalf of the defendants, orally and/or in writing. Fei Qi

   also has knowledge of the denial of investors’ I-526 petitions because of defendants’ collective

   acts and omissions, as well as the nature and amount of the damages sustained. Fei Qi also has

   knowledge of some of the personal circumstances created by the fraud, including both economic

   damages and the suffering that has been endured because of the fraud.

          70.     Edwin Sheih, 21/F, Tower A, Building No.3 Zhuoyueshiji zhongxin, Fuhua 3rd

   Road, Futian District, Shenzhen City, Guangdong Province, China P.C 518048. Edwin Sheih

   has information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants to the immigration agents by certain of the defendants, orally and/or in writing, with

   the intention that they be repeated, as the truth, to the Chinese victims. Edwin Sheih also has

   knowledge of the immigration agents’ acceptance of the misrepresentations made by and/or on

   behalf of the defendants to them, orally and/or in writing, as true, and the repetition of those

   misrepresentations to certain EB-5 investors, as well as the EB-5 investors’ reliance on them.

   Edwin Sheih also has knowledge of the denial of investors’ I-526 petitions because of




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   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Edwin Sheih also has knowledge of some of the personal circumstances created by

   the fraud, including both economic damages and the suffering that has been endured because of

   the fraud.

          71.     Wujian Xie, 21/F, Tower A, Building No.3 Zhuoyueshiji zhongxin, Fuhua 3rd

   Road, Futian District, Shenzhen City, Guangdong Province, China P.C 518048. Wujian Xie has

   information regarding some of the many misrepresentations made by and/or on behalf of the

   defendants to the immigrations agents by certain of the defendants, orally and/or in writing, with

   the intention that they be repeated, as the truth, to the Chinese victims. Wujian Xie also has

   knowledge of the immigration agents’ acceptance of the misrepresentations made by and/or on

   behalf of the defendants to them, orally and/or in writing, as true, and the repetition of those

   misrepresentations to certain EB-5 investors, as well as the EB-5 investors’ reliance on them.

   Wujian Xie also has knowledge of the denial of investors’ I-526 petitions because of defendants’

   collective acts and omissions, as well as the nature and amount of the damages sustained.

   Wujian Xie also has knowledge of some of the personal circumstances created by the fraud,

   including both economic damages and the suffering that has been endured because of the fraud.

          72.     Shuanghu Zhang, Room 2208, Di Wang Commercial Center, No. 5002 Shen

   Nan Road East, Luohu District, Shenzhen, Guangdong, China. Shuanghu Zhang has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants to

   the immigrations agents by certain of the defendants, orally and/or in writing, with the intention

   that they be repeated, as the truth, to the Chinese victims. Shuanghu Zhang also has knowledge

   of the immigration agents’ acceptance of the misrepresentations made by and/or on behalf of the

   defendants to them, orally and/or in writing, as true, and the repetition of those




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   misrepresentations to certain EB-5 investors, as well as the EB-5 investors’ reliance on them.

   Shuanghu Zhang also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Shuanghu Zhang also has knowledge of some of the personal circumstances created

   by the fraud, including both economic damages and the suffering that has been endured because

   of the fraud.

          73.      Jiaqi Cai, 18/F, Dongshan Plaza, No. 69 Xianlie Zhong Road, Yuexiu District,

   Guangzhou, P. R. China       510095. Jiaqi Cai has information regarding some of the many

   misrepresentations made by and/or on behalf of the defendants to the immigration agents by

   certain of the defendants, orally and/or in writing, with the intention that they be repeated, as the

   truth, to the Chinese victims.      Jiaqi Cai also has knowledge of the immigration agents’

   acceptance of the misrepresentations made by and/or on behalf of the defendants to them, orally

   and/or in writing, as true, and the repetition of those misrepresentations to certain EB-5

   investors, as well as the EB-5 investors’ reliance on them. Jiaqi Cai also has knowledge of the

   denial of investors’ I-526 petitions because of defendants’ collective acts and omissions, as well

   as the nature and amount of the damages sustained. Jiaqi Cai also has knowledge of some of the

   personal circumstances created by the fraud, including both economic damages and the suffering

   that has been endured because of the fraud.

          74.      Yan Geng, No. 77 Hong Kong Middle Road, Qingdao, Shandong, China. Yan

   Geng has information regarding some of the many misrepresentations made by and/or on behalf

   of the defendants to the immigration agents by certain of the defendants, orally and/or in writing,

   with the intention that they be repeated, as the truth, to the Chinese victims. Yan Geng also has

   knowledge of the immigration agents’ acceptance of the misrepresentations made by and/or on




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   behalf of the defendants to them, orally and/or in writing, as true, and the repetition of those

   misrepresentations to certain EB-5 investors, as well as the EB-5 investors’ reliance on them.

   Yan Geng also has knowledge of the denial of investors’ I-526 petitions because of defendants’

   collective acts and omissions, as well as the nature and amount of the damages sustained. Yan

   Geng also has knowledge of some of the personal circumstances created by the fraud, including

   both economic damages and the suffering that has been endured because of the fraud.

          75.     Zhiqiang Li, 5th Floor, Block C, Yuquan Senxin Hotel, No. 68, Wuyuan Street,

   Lixia District, Jinan, Shandong, China. Zhiqiang Li has information regarding some of the many

   misrepresentations made by and/or on behalf of the defendants to the immigration agents by

   certain of the defendants, orally and/or in writing, with the intention that they be repeated, as the

   truth, to the Chinese victims. Zhiqiang Li also has knowledge of the immigration agents’

   acceptance of the misrepresentations made by and/or on behalf of the defendants to them, orally

   and/or in writing, as true, and the repetition of those misrepresentations to certain EB-5

   investors, as well as the EB-5 investors’ reliance on them. Zhiqiang Li also has knowledge of

   the denial of investors’ I-526 petitions because of defendants’ collective acts and omissions, as

   well as the nature and amount of the damages sustained. Zhiqiang Li also has knowledge of

   some of the personal circumstances created by the fraud, including both economic damages and

   the suffering that has been endured because of the fraud.

          76.     Qiuping Kou, address unknown at this time. Qiuping Kou has information

   regarding some of the many misrepresentations made by and/or on behalf of the defendants to

   the immigration agents by certain of the defendants, orally and/or in writing, with the intention

   that they be repeated, as the truth, to the Chinese victims. Qiuping Kou also has knowledge of

   the immigration agents’ acceptance of the misrepresentations made by and/or on behalf of the




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   defendants to them, orally and/or in writing, as true, and the repetition of those

   misrepresentations to certain EB-5 investors, as well as the EB-5 investors’ reliance on them.

   Qiuping Kou also has knowledge of the denial of investors’ I-526 petitions because of

   defendants’ collective acts and omissions, as well as the nature and amount of the damages

   sustained. Qiuping Kou also has knowledge of some of the personal circumstances created by

   the fraud, including both economic damages and the suffering that has been endured because of

   the fraud.

          77.     Joseph Walsh, c/o Weiss Handler & Cornwell, P.A., 2255 Glades Road, Suite

   218A, Boca Raton, FL 33431. Joseph Walsh has knowledge of the many written and oral

   misrepresentations made to the immigration agents (with the intention that they be repeated and

   relayed to the EB-5 investors as true) and the EB-5 investors, as well as the proliferation of the

   misrepresentations by Mr. Walsh’s companies, employees and other agents. Mr. Walsh also has

   knowledge of the falsity of those misrepresentations and the intended and actual impact of them

   on the immigration agents’ decisions to seek investors as well as the EB-5 investors’ decisions to

   invest in the Palm House Hotel project. Mr. Walsh also has knowledge of the theft of the EB-5

   investors’ investment monies, the denial of the EB-5 investors’ I-526 petitions and both the

   monetary damages and non-economic consequences and suffering caused by the fraud.

          78.     Robert Matthews, c/o Kammerer Mariani PLLC, 1601 Form Place, Suite 500,

   West Palm Beach, FL 33401. Robert Matthews has knowledge of the many written and oral

   misrepresentations made to the immigration agents (with the intention that they be repeated and

   relayed to the EB-5 investors as true) and the EB-5 investors, as well as the proliferation of the

   misrepresentations by Mr. Matthews’ companies, employees and other agents. Mr. Matthews

   also has knowledge of the falsity of those misrepresentations and the intended and actual impact




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   of them on the immigration agents’ decisions to seek investors as well as the EB-5 investors’

   decisions to invest in the Palm House Hotel project. Mr. Matthews also has knowledge of the

   theft of the EB-5 investors’ investment monies, the denial of the EB-5 investors’ I-526 petitions

   and both the monetary damages and non-economic consequences and suffering caused by the

   fraud.

            79.   Candy Wong, Penthouse Suite 7902, 79/F, The Center 99 Queen’s Road Central,

   Hong Kong. Candy Wong has knowledge of the many written and oral misrepresentations made

   by and/or on behalf of the defendants to her with the intention that they be repeated, as the truth,

   to the immigration agents and EB-5 investors. Ms. Wong also has knowledge of the denial of

   the EB-5 investors’ I-526 petitions and both the monetary damages and non-economic

   consequences and suffering caused by the fraud.

            80.   Leslie Robert Evans, c/o Law Offices of Gregory R. Elder, LLC 108 SE 8th

   Avenue, Suite 114, Fort Lauderdale, FL 33301. Leslie Robert Evans, on information and belief,

   has knowledge of the many written and oral misrepresentations made by various defendants to

   the immigration agents and EB-5 investors. Mr. Evans also has knowledge of the control, theft,

   and unlawful transfer of investors’ monies, as well as the instructions made by and/or on behalf

   of the defendants to unlawfully transfer investors’ monies to several of the defendants for

   purposes not related to the Palm House Hotel project, including for defendants’ personal use and

   the gain of others. Mr. Evans also has knowledge of his failure to record a mortgage in favor of

   KK-PB Financial, LLC for a period of more than seven (7) months after the closing of that

   transaction, who ordered him not to record the mortgage, why he was ordered not to record the

   mortgage and why he followed those orders. Mr. Evans also has knowledge as to why he signed

   documents using a purported power of attorney expired on its face.            Mr. Evans also has




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   knowledge of the origin and use of stolen EB-5 proceeds to close the mortgage transaction in

   favor of KK-PB Financial as well as the origin and use of stolen EB-5 proceeds to make the first

   three mortgage payments to KK-PB Financial.

          81.    Joseph Walsh, Jr., c/o Weiss Handler & Cornwell, P.A., 2255 Glades Road,

   Suite 218A, Boca Raton, FL 33431. Joseph Walsh, Jr. has knowledge of the many written and

   oral misrepresentations made to the immigration agents (with the intention that they be repeated

   and relayed to the EB-5 investors as true) and the EB-5 investors, and the proliferation of the

   misrepresentations by Mr. Walsh’s agents, as well as his father, Joseph Walsh’s companies,

   employees and other agents.       Mr. Walsh also has knowledge of the falsity of those

   misrepresentations and the intended and actual impact of them on the immigration agents’

   decisions to seek investors as well as the EB-5 investors’ decisions to invest in the Palm House

   Hotel project. Mr. Walsh also has knowledge of the theft of the EB-5 investors’ investment

   monies, the denial of the EB-5 investors’ I-526 petitions and both the monetary damages and

   non-economic consequences and suffering caused by the fraud.

          82.    Nicholas Laudano, 17 Hoadley Road Branford, CT 06405. Nicholas Laudano has

   knowledge of the many written and oral misrepresentations made to the EB-5 investors. Mr.

   Laudano also has knowledge of the control, theft, and unlawful transfer of investors’ monies, as

   well as the instructions made by and/or on behalf of the defendants to unlawfully transfer

   investors’ monies to several of the defendants for purposes not related to the Palm House Hotel

   project, including for defendants’ personal use and the gain of others. Mr. Laudano also has

   knowledge of the amount of money that was actually spent on making improvements to the Palm

   House Hotel using EB-5 investment monies, if any, construction of components that were not

   permitted and who ordered that work. Mr. Laudano also has knowledge of how much money




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   and goods were converted/stolen from the Palm House Hotel project to Mr. Laudano’s pizza

   restaurants. Mr. Laudano also has knowledge of all of the facts underlying his plea of guilty to

   one count of conspiracy to commit bank fraud and one count of illegal monetary transaction in

   the case styled United States of America v. Nicholas Laudano, United States District Court,

   District of Connecticut, Criminal Case No. 3:18-CR-47 (VAB), for which he is facing up to forty

   (40) years in prison as a result of his role in the fraud.

           83.     Gerry Matthews, c/o McCabe Rabin, P.A., 1601 Forum Place, Suite 201, West

   Palm Beach, FL 33401. Gerry Matthews has knowledge of the control, theft, and unlawful

   transfer of investors’ monies, as well as the instructions made by and/or on behalf of the

   defendants to unlawfully transfer investors’ monies to several of the defendants for purposes not

   related to the Palm House Hotel project, including for defendants’ personal use and the gain of

   others. Mr. Matthews also has knowledge of his acts in furtherance of the fraud. Mr. Matthews

   also has knowledge of all of the facts underlying his plea of guilty to one count of conspiracy to

   commit wire fraud in the case styled United States of America v. Gerry Matthews, United States

   District Court, District of Connecticut, Bridgeport, Criminal No. 3:18-CR-43(VAB), for which

   he is facing up to twenty (20) years in prison as a result of his role in the fraud.

           84.     Ali Herischi, c/o Brodsky Fotiu-Wojtowicz, PLLC, Alfred I. DuPont Building,

   Suite 1224, 169 East Flagler Street, Miami, FL 33131. Ali Herischi has knowledge of the many

   written and oral misrepresentations made by him to the EB-5 investors. Mr. Herischi also has

   knowledge of the falsity of those misrepresentations and the intended and actual impact of them

   on the Iranian EB-5 investors’ decisions to invest in the Palm House Hotel project. Mr. Herischi

   also has knowledge of the theft of the EB-5 investors’ investment monies, the denial of the EB-5

   investors’ I-526 petitions and both the monetary damages and non-economic consequences and




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   suffering caused by the fraud. Mr. Herischi also has knowledge of his and his law firm, Herischi

   & Associates LLC’s, failure to disclose to the Iranian victims that they were getting kickbacks

   from some of the defendants in return for delivering the Iranian victims as investors, their

   admission of the existence of the kickbacks after the fraud was exposed and their

   acknowledgement of the existence of the fraud.

          85.     Glenn Straub, c/o Zink, Zink & Zink Co., L.P.A., 1198 Hillsboro Mile – Suite

   244, Hillsboro Beach, FL 33062. Glenn Straub has knowledge of the history of ownership of the

   Palm House Hotel, including its eventual acquisition by 160 Royal Palm Way, LLC, as well as

   the transaction and closing by which KK-PB Financial, LLC became a mortgagee of the

   property. Mr. Straub also has knowledge regarding the shortfall of closing monies at closing in

   the amount of some $3,000,000, and the fact that the monies used to finance the development of

   the Palm House Hotel project were coming from EB-5 investors. Mr. Straub also has knowledge

   of the fact that KK-PB’s mortgage was not recorded for a period of more than seven (7) months

   after closing and who was responsible for that.

          86.     J. Marcus Payne, 834 Valley Road, Glencoe, IL 60022.           Marcus Payne has

   knowledge of the many written and oral misrepresentations made to the immigration agents

   (with the intention that they be repeated and relayed to the EB-5 investors as true) and the EB-5

   investors, and the proliferation of the misrepresentations by Mr. Payne’s agents, as well as

   Joseph Walsh’s companies, employees and other agents. Mr. Payne also has knowledge of the

   falsity of those misrepresentations and the intended and actual impact of them on the

   immigration agents’ decisions to seek investors as well as the EB-5 investors’ decisions to invest

   in the Palm House Hotel project. Mr. Payne also has knowledge of the theft of the EB-5




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   investors’ investment monies, the denial of the EB-5 investors’ I-526 petitions and both the

   monetary damages and non-economic consequences and suffering caused by the fraud.

          87.     Fang Cheng, c/o Haile Shaw & Pfaffenberger, 660 U.S Highway One, 3rd Floor.

   N. Palm Beach, FL 33408.         Fang Cheng has knowledge of the many written and oral

   misrepresentations made to the immigration agents (with the intention that they be repeated and

   relayed to the EB-5 investors as true) and the EB-5 investors. Ms. Cheng also has knowledge of

   the falsity of those misrepresentations and the intended and actual impact of them on the

   immigration agents’ decisions to seek investors as well as the EB-5 investors’ decisions to invest

   in the Palm House Hotel project. Ms. Cheng also has knowledge of the theft of the EB-5

   investors’ investment monies, the denial of the EB-5 investors’ I-526 petitions and both the

   monetary damages and non-economic consequences and suffering caused by the fraud.

          88.     David Derrico, 5163 Deerhurst Crescent Circle, Boca Raton, FL 33486. David Derrico

   has knowledge of the facts and circumstances surrounding defendants’ fraud, the theft of the

   EB-5 investors’ investment monies, the denial of the EB-5 investors’ I-526 petitions and both the

   monetary damages and non-economic consequences and suffering caused by the fraud.

          89.     Eric Erkan Nur, 6242 N. State Road 7, Unit 207 Coconut Creek, FL 33073. Eric

   Erkan Nur has knowledge of the misrepresentations made by him and other defendants to plaintiff

   Halil Erseven, the falsity of those misrepresentations and the intended and actual impact of them

   on Mr. Erseven’s decision to invest in the Palm House Hotel project.           Mr. Nur also has

   knowledge of the theft of Mr. Erseven’s investment monies, the denial of his I-526 petition and

   both his monetary damages and non-economic consequences and suffering caused by the fraud.

   Mr. Nur also has knowledge of his failure to disclose to Mr. Erseven that he obtained a kickback

   from some of the defendants for delivering Mr. Erseven as an investor.




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          90.     Ryan Black, c/o C. Brooks Ricca, Jr. & Associates, P.A., The Barristers Building, 1615

   Forum Place, Suite 200, West Palm Beach, FL 33401. Ryan Black has knowledge of the facts and

   circumstances surrounding defendants’ fraud, the theft of the EB-5 investors’ investment monies,

   the denial of the EB-5 investors’ I-526 petitions and both the monetary damages and non-

   economic consequences and suffering caused by the fraud.

          91.     Maria a/k/a Mia Matthews, c/o Kammerer Mariani PLLC, 1601 Form Place,

   Suite 500, West Palm Beach, FL 33401. Maria Matthews has knowledge of the many written

   and oral misrepresentations made to the immigration agents (with the intention that they be

   repeated and relayed to the EB-5 investors as true) and the EB-5 investors. Mrs. Matthews also

   has knowledge of the falsity of those misrepresentations and the intended impact of them on the

   immigration agents’ decisions to seek investors as well as the EB-5 investors’ decisions to invest

   in the Palm House Hotel project. Mrs. Matthews also has knowledge of the theft of the EB-5

   investors’ investment monies.

          92.     Kevin Wright, c/o William P. Ziegelmueller, Schiff Hardin LLP, 233 South

   Wacker Drive, Suite 7100, Chicago, IL 60606. Kevin Wright has knowledge of the facts and

   circumstances surrounding defendants’ fraud, the theft of the EB-5 investors’ investment monies,

   the denial of the EB-5 investors’ I-526 petitions and both the monetary damages and non-

   economic consequences and suffering caused by the fraud.

          93.     Bernard Wolfsdorf, Wolfsdorf Rosenthall LLP, 1416 2nd Street, Santa Monica,

   CA 90401.     Bernard Wolfsdorf has knowledge of the denial of the EB-5 investors’ I-526

   petitions with respect to those that he prepared and submitted, and the reasons behind the denials

   as a consequence of defendants’ fraudulent acts.




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          94.    David Levinson, 1505 Canna Court, Mountain View, CA 94043. David Levinson has

   knowledge of the facts and circumstances surrounding defendants’ fraud, the theft of the EB-5

   investors’ investment monies, the denial of the EB-5 investors’ I-526 petitions and both the

   monetary damages and non-economic consequences and suffering caused by the fraud.

          95.    Craig T. Galle, The Galle Law Group P.A., 13501 South Shore Blvd, Suite 103,

   Wellington, FL 33414. Craig Galle has knowledge of the history of ownership of the Palm

   House Hotel, including its eventual acquisition by 160 Royal Palm Way, LLC, as well as the

   transaction and closing by which KK-PB Financial, LLC became a mortgagee of the property.

   Mr. Galle also has knowledge regarding the shortfall of closing monies at closing in the amount

   of some $3,000,000, and the fact that the monies used to finance the development of the Palm

   House Hotel project were coming from EB-5 investors. Mr. Galle also has knowledge of the fact

   that KK-PB’s mortgage was not recorded for a period of more than seven (7) months after

   closing and who was responsible for that.

          96.    Brian S. Aryai, Icon Compliance Services LLC, 13920 N. Dale Mabry Hwy,

   Suite 2, Tampa, FL 33618. Bryan Aryai has information regarding a report commissioned by

   Joseph Walsh dated August 22, 2016 purporting to trace and account for all of the monies stolen

   from the EB-5 investors.

          97.    Anthony Reitz, 6429 Lauderdale Street, Jupiter, FL 33458. Anthony Reitz has

   knowledge of the facts and circumstances surrounding defendants’ fraud, the theft of the EB-5

   investors’ investment monies, the denial of the EB-5 investors’ I-526 petitions and both the

   monetary damages and non-economic consequences and suffering caused by the fraud.




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              98.     Daniel Osaba, PNC Bank, The Tower at PNC Tower, 300 Fifth Avenue, PT-

   PTWR-18-1, Pittsburgh, PA 5222. Daniel Osaba has information regarding SARC and Joseph

   Walsh’s attempt to open an escrow account at PNC Bank.

 II.      Documents Plaintiffs May Use to Support Their Claims – FRCP 26(a)(1)(A)(ii)

              Pursuant to the Parties’ agreement regarding the discovery plan, which is expressed in the

    Joint Scheduling Report [DE 279], copies of all documents and electronically stored information

    that Plaintiffs have in their possession, custody, or control and may use to support their claims or

    defenses will be produced starting as of the date hereof on a rolling basis until complete.

III.      Computation of Damages Claims by Disclosing Party – FRCP 26(a)(1)(A)(iii)

              Plaintiffs are currently aware of the following categories of damages that they are

       claiming in this action.

              a. Compensatory damages consisting of each EB-5 investor’s principal investment of
                 $500,000;

              b. Compensatory damages consisting of each EB-5 investor’s administrative fee ranging
                 between $40,000 and $60,000;

              c. Pre- and post-judgment interest;

              d. Punitive damages; and

              e. Attorneys’ fees and court costs

IV.       Insurance Agreement – FRCP 26(a)(1)(A)(iv)

              No insurance agreement exists under which an insurance business may be liable to satisfy all

    or part of a possible judgment in this action or to indemnify or reimburse for payments made to

    satisfy a judgment.

                                                    Respectfully submitted,

                                                    /s/ David J. George
                                                    DAVID J. GEORGE
                                                    Florida Bar No. 898570



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                                               Attorneys for Plaintiffs



                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 31, 2018, I electronically served the foregoing Initial

   Disclosures on all counsel of record identified below via e-mail, but did not file with the Court

   pursuant to S.D. Fla. Local Rule 26.1(b).

                                               /s/ David J. George
                                               DAVID J. GEORGE




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                                           SERVICE LIST
                                 Lan Li, et al., v. Joseph Walsh, et al.
                                      Case No. 9:16-cv-81871


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   Attorneys for Robert Matthews, Maria              Associates, LLC
   Matthews, Bonaventure 22, LLC, Mirabia            Via CM/ECF
   LLC, Alibi, LLC, Palm House, LLC, 160 Royal
   Palm, LLC, and Palm House PB, LLC
   Via CM/ECF

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   Email: zinklaw3711@yahoo.com                      Atlantic Regional Center LLC, USREDA LLC,
   Attorney for KK-PB Financial, LLC                 Joseph Walsh, Joseph Walsh, Jr., and JJW
   Via CM/ECF                                        Consultancy, Ltd.
                                                     Via CM/ECF
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